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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO
EASTERN DIVISION

INDICTMENT

UNITED STATES OF AMERICA,

)
Plaintiff,
aintrHf,
) 5:250R 00117
) CASENO.
) Title 18, United States Code,
)
)
)
)
)

¥v.

GARY K. JONES, Sections 922(g)(1) and 924(a)(8)

Defendant.

JUDGE OLIVER

(Felon in Possession of a Firearm and Ammunition,
18 U.S.C. $§ 922(2)(1) and 924(a)(8))

The Grand Jury charges:

1. On or about January 1, 2025, in the Northern District of Ohio, Eastern Division,
Defendant GARY K. JONES, knowing he had previously been convicted of crimes punishable
by imprisonment for a term exceeding one year, those being: Aggravated Burglary, in case
number 2012-08-2337-A, in the Court of Common Pleas of Summit County, Chio, on or about
January 25, 2013; Felon in Possession of a Firearm, in case number 5:17CR533, in the United
States District Court for the Northern District of Ohio, on or about March 15, 2018; and Felon in
Possession of a Firearm, in case number 5:21CR172, in the United States District Court for the
Northern District of Ohio, on or about July 18, 2022, knowingly possessed in and affecting
interstate and foreign commerce a firearm, to wit: a Glock model 26 9mm caliber semiautomatic

pistol bearing serial number BGHH719, and ammunition, said firearm and ammunition having
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previously been shipped and transported in interstate and foreign commerce, in violation of Title

18, United States Code, Sections 922(g)(1)} and 924{a)(8).

FORFEITURE
The Grand Jury further charges:

2. For the purpose of alleging forfeiture pursuant to Title 18, United States Code,
Section 924(d)(1), and Title 28, United States Code, Section 2461(c), the allegation of Count 1 is
incorporated herein by reference. As a result of the foregoing offense, Defendant GARY K.
JONES shall forfeit to the United States any and all firearms and ammunition involved in or used
in the commission of the federal firearm violation charged herein; including, but not limited to,

the following.

A TRUE BILL.

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002,
